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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division


ANTWAN SMITH,

               Plaintiff,

       V.
                                                                   Civil Action No. 3;24cv87


UNKNOWN,

               Defendant.

                                   MEMORANDUM OPINION


       By Memorandum Order entered on February 14,2024, the Court conditionally docketed
Plaintiffs civil action. At that time, the Court directed Plaintiff to submit a statement under oath

or penalty of perjury that:

        (A)     Identifies the nature of the action;
        (B)     States his belief that he is entitled to relief;
        (C)     Avers that he is unable to prepay fees or give security therefor; and.
        (D)     Includes a statement of the assets he possesses.

See 28 U.S.C. § 1915(a)(1). The Court provided Plaintiff with an in forma pauperis affidavit
form for this purpose.

        Additionally, the Court directed Plaintiff to affirm his intention to pay the full filing fee

by signing and returning a consent to the collection of fees form. The Court warned Plaintiff that
a failure to comply with either of the above directives within thirty (30) days of the date of entry
thereof would result in summary dismissal of the action.
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        Plaintiff has not complied with the orders of this Court. Plaintiff failed to return a

completed /V? fo7‘)nQ paupei'is affidavit form and a consent to collection of fees torm. As a result,

he does not qualify for in forma pauperis status. Furthermore, he has not paid the statutory filing
fee for the instant action. See 28 U.S.C. § 1914(a). Such conduct demonstrates a willful failure

to prosecute. See Fed. R. Civ. P. 41(b). Accordingly, this action will be DISMISSED
WITHOUT PREJUDICE.

        An appropriate Final Order shall accompany this Memorandum Opinion.



Date:   3lsa\0O9A                                                 M. Hannah p^^l^
Richmond, Virginia                                                United Stalls ©istrict Judge




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